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                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                   100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens              POTTER STEWART U.S. COURTHOUSE                     Tel. (513) 564-7000
         Clerk                        CINCINNATI, OHIO 45202-3988                   www.ca6.uscourts.gov




                                                     Filed: February 05, 2024

Ms. Anna Benvenutti Hoffmann

Mr. Arthur R. Loevy

Mr. Charles Edward Monarch

Mr. Peter J. Rosene

Mr. Barry C. Scheck

Ms. Amy Robinson Staples

Mr. Cody Weber

                           Case No. 24-5061,
                       Re: Jeffrey Clark, et al v. Louisville Jefferson County Metro Government, et al
                            Originating Case No. 3:17-cv-00419

Dear Counsel,

   The briefing schedule for this case is listed below. The briefs must be filed electronically
with the Clerk's office no later than these dates. If the appellant's principal brief is filed late, the
case is at risk of being dismissed for want of prosecution.

    Citations in your brief to the lower court record must include (i) a brief description of the
document, (ii) the record entry number and (iii) the "Page ID #" for the relevant pages. When
citing a sealed document to which counsel has been denied access to the paginated version in the
lower court, please refer to the docket entry number and the page number of the document, e.g.,
Sealed RE 25, page 3. Consult 6 Cir. R. 28(a)(1).

     Appellant's Principal Brief
     Appendix (if required by 6th              Filed electronically by March 18, 2024
      Cir. R. 30(a) and (c))
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    Appellee's Principal Brief
    Appendix (if required by 6th            Filed electronically by April 17, 2024
     Cir. R. 30(a) and (c))

                                            If multiple appellee briefs are filed,
    Appellant's Reply Brief                 only one reply brief may be filed by
    (Optional Brief)                        appellants represented by the same
                                            attorney. The reply brief is due no later
                                            than 21 days after the last appellee
                                            brief is filed. See Fed. R. App. P. 26(c)

    For most appeals, the Court will access directly the electronic record in the district
court. However, to determine if this appeal requires an appendix and how to prepare it, read the
latest version of the Sixth Circuit Rules at www.ca6.uscourts.gov, in particular Rules 28 and 30.

   A party desiring oral argument must include a statement in the brief setting forth the reason(s)
why oral argument should be heard. See 6 Cir. R. 34(a). If the docket entry for your brief
indicates that you have requested oral argument but the statement itself is missing, you will be
directed to file a corrected brief.

    In scheduling appeals for oral argument, the court will make efforts to avoid dates that
counsel have previously brought to its attention as presenting a conflict during weeks when the
court is scheduled to sit. The court's sitting schedule may be found at
http://www.ca6.uscourts.gov/oral-argument-calendars. Because cases are set for calendar early
in the case, counsel should provide as soon as possible any dates of unavailability during the next
nine months, preferably no later than the filing of the appellee's brief. Counsel should use the
"Counsel Unavailability Form" located on the court's website. If subsequent conflicts arise,
counsel should notify the court as soon as possible.

                                                 Sincerely yours,

                                                 s/Virginia Lee Padgett
                                                 Case Manager
                                                 Direct Dial No. 513-564-7032


Enclosure
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                               CHECKLIST FOR BRIEFS

   Briefs and filing requirements are found in the Federal Rules of Appellate Procedure
    (FRAP) and the Sixth Circuit Local Rules (6 Cir. R.), located on the court's website. File
    the correct brief type (e.g. appellant, appellee, petitioner, respondent, 1st, 2d) only in the
    appropriate case. During filing of the brief, deselect any inapplicable case in CM/ECF
    by unchecking the inapplicable case numbers. In cross-appeals, file all briefs in all cases,
    unless you are a party to only one cross-appeal.

   Appellants filing one notice of appeal must file a single brief unless permission is granted
    for separate briefs. See FRAP 3(b)(1). Appellants file one reply brief regardless of the
    number of appellee briefs.

   Redact personal information. FRAP 25(a)(5) and rules cited therein provide guidance.

   File briefs in PDF, preferably searchable native PDF. 6 Cir. R. 25(a)(2); PACER
    website.

                                 BRIEF COMPONENTS

   Brief components must appear in the brief in the order indicated below. FRAP 28(a).

   I. COVER. Colored covers are not required for electronically filed briefs. Do include:

       •   Sixth Circuit Case Number(s).
       •   Name of the Court: "United States Court of Appeals for the Sixth Circuit."
       •   Title of the Case: Smith v. Jones.
       •   Nature of proceeding and court or agency below.
       •   Title identifying the party: e.g., "Brief of Appellee Lawrence Litigant"
       •   Name, address, and telephone number of counsel. FRAP 32(a)(2)

   II. CORPORATE DISCLOSURE. Consult FRAP 26.1 and 6 Cir. R. 26.1 for
    applicability.

   III. TABLE OF CONTENTS. Page references are required. FRAP 28(a)(2) and (b).

   IV. TABLE OF AUTHORITIES. FRAP 28(a)(3) and (b).

       •   Alphabetize case citations; include statutes and other authorities.
       •   Include references to the page in the brief where specific authority is cited.




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     V. STATEMENT IN SUPPORT OF ORAL ARGUMENT. FRAP 34; 6 Cir. R. 34.

         •   A party desiring oral argument must include a statement explaining why the court
             should hear argument. 6 Cir. R. 34(a). CAUTION: When filing the brief in
             CM/ECF, do not choose "argument requested" unless the brief contains an
             unambiguous statement giving reasons in support of argument. If the court
             decides to hear argument, no eligible party will be excluded based on a failure to
             request argument. Also see 6 Cir. R. 28(b)(1)(B).


Items in this box are included in the applicable page and/or word counts. FRAP 32(f).

     VI. STATEMENT OF JURISDICTION - See FRAP 28(a)(4); four areas must be
      addressed. Appellee need not include this statement if in agreement with
      appellant. FRAP 28(b).

     VII. STATEMENT OF ISSUES - See FRAP 28(a)(5). Appellee need not include this
      statement if in agreement with appellant. FRAP 28(b).

     VIII. STATEMENT OF THE CASE - See FRAP 28(a)(6); (b)

         •   Concise statement of the case setting out the facts relevant to the issues presented
             with description of procedural history, and identification of rulings presented for
             review and references to the record. A separate statement of facts is not
             required. FRAP 28(a)(6).
         •   Appellee need not include this statement if in agreement with appellant.

     IX. SUMMARY OF THE ARGUMENT - Succinct, clear, and accurate statement of the
      argument(s) that does not merely repeat the argument headings. FRAP 28(a)(7).

     X. ARGUMENT

         •   Include the "contentions and reasons for them." FRAP 28(a)(8)(A).
         •   Citations to the relevant authorities and record parts. FRAP 28(a)(8)(A).
         •   Include the standard of review for each issue. FRAP 28(a)(8)(B);
             (b). Appellee need not include this statement if in agreement with appellant.

     XI. CONCLUSION

         •   State the precise relief sought. FRAP 28(a)(9).
         •   Filing attorney(s) signature(s) required: s/(Attorney's Name). 6 Cir. R. 25(d)(1).




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   XII. CERTIFICATE OF COMPLIANCE: As required under FRAP 32(g) (effective
    December 1, 2016).

   XIII. CERTIFICATE OF SERVICE: Include date served; parties served; manner of
    service (mail or CM/ECF); and attorney signature. See FRAP 25(d).

   XIV. ADDENDUM

       •   Designation of relevant originating court documents with Page ID # range, if
           applicable. 6 Cir. R. 28(b)(1)(A)(i). (See "Citations to the Record" below.)
       •   Consult 6 Cir. R. 30(g) for types of documents that must be designated.
       •   May include relevant statutes, rules, regulations.
       •   Must include copies of decisions "not available in a publicly accessible electronic
           database." FRAP 32.1(b); 6 Cir. R. 32.1(a).

                           CITATIONS TO THE RECORD

   Appeals from the district courts. 6 Cir. R. 28(a)(1). Each citation must include:

       •   Short description of record item: Motion for Summary Judgment; Order;
           Transcript.
       •   Docket entry number: RE 25, R. 13. "RE," "R." preferred; avoid "D", "DE", or
           "Doc."
       •   Page ID # range for the relevant portion of the document: Page ID # 220-
           227. The Page ID # is in blue on the header or footer of the PDF document when
           it is opened from the district court's docket. When citing to a sealed document to
           which counsel has been denied access and therefore cannot see Page ID #, explain
           in a footnote and refer to the docket entry number and page number. E.g., sealed
           entry 23, page 3.



                            EXAMPLES OF ACCEPTABLE CITATIONS

                 o   Motion for Summary Judgment, RE 23, Page ID # 120-145
                 o   Transcript, R. 52, Page ID ## 675-682
                 o   Agency Record, RE 12, Page ID # 190-191 (this applies when an
                     administrative record is filed in district court, e.g., Social Security or
                     ERISA cases).




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   Other appeals. 6 Cir. R. 28(a)(2). In petitions for review of agency decisions, cite to the
    page number of the administrative record or the appendix. Page ID #'s do not apply.

   Placing citations and references within the brief text is preferred over footnote references.

                 BRIEF LENGTH, FORMATTING, and TYPEFACE

   Typefaces: see FRAP 32(a)(4), (5), and (6). Briefs must be double-spaced.

       •   Either a proportionally spaced font at 14 pt. (such as Times New Roman), or
       •   Monospaced font not exceeding 10 1/2 characters per inch (such as Courier New
           at 12 point).
       •   The court asks footnotes be in the same font size as text.

   Length of briefs: see FRAP 32(a)(7).

       •   Principal: 30 pages OR up to 13,000 words OR 1,300 lines of monospaced
           typeface.
       •   Reply: 15 pages OR up to 6,500 words OR 650 lines of a monospaced typeface.
       •   Include a certificate of compliance if over 30 pages. FRAP 32(g).
       •   Headings, footnotes, quotations count in word and line limitations. See 6th Cir.
           R. 32(b) for items excluded from the length limits.

   Briefs for cross-appeals: see FRAP 28.1; Amicus briefs: see FRAP 29, 32.




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